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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UTICA MUTUAL INSURANCE                             )
COMPANY,                                           )
                                                   )
            Plaintiff,                             )
                                                   )
      vs.                                          )          Case No. 1:24-cv-00146-MTS
                                                   )
CHAP ARNOLD INSURANCE                              )
AGENCY, LLC, et. al,                               )
                                                   )
            Defendants.                            )

                                MEMORANDUM AND ORDER

       This matter is before the Court on review of the file. Under this Court’s Local Rules,

“every party . . . in an action in which jurisdiction is based upon diversity under 28

U.S.C.§ 1332(a), must file a Disclosure Statement.” E.D. Mo. L.R. 2.09(A); accord Fed. R.

Civ. P. 7.1. Each party’s statement “must identify the name and citizenship of every individual or

entity whose citizenship is attributed to that party . . . including all members [and] sub-members.”

Id. 2.09(B)(1) (emphasis added). The Court imposes this requirement “to determine recusal and

jurisdictional issues.” Id. 2.09(A).

       On January 09, 2025, Defendant Chap Arnold Insurance Agency, LLC, filed an Amended

Disclosure Statement identifying its members as Keystone Agency Partners, LLC (“Keystone”),

and Arnold Procurements I, Inc. (“Arnold Procurements”). Doc. [33]. Defendant failed, however,

to disclose the citizenship of these entities. The disclosure states only that Keystone is a “Delaware

limited liability company” and that Arnold Procurements is a “Missouri corporation.” Id. Because

Defendant’s citizenship—like all limited liability companies—is equivalent to that of all of its

members, see GMAC Com. Credit LLC v. Dillard Dep’t Stores, Inc., 357 F.3d 827, 829 (8th Cir.
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2004), Defendant cannot satisfy its disclosure requirement under Local Rule 2.09 until it

sufficiently discloses the citizenship of Keystone, see Hill v. Lowe’s Home Ctrs., LLC, 1:21-cv-

00185-SRC, 2022 WL 1202363 at *3 (E.D. Mo. Apr. 22, 2022) (explaining that the Court “not

only needs know the citizenship of each member of an LLC, but also the citizenship of any sub-

member”). * Similarly, Defendant must adequately disclose the citizenship of Arnold

Procurements. See 28 U.S.C. § 1332(c)(1) (establishing that a corporation is a citizen of the state

of its incorporation and the state where its principal place of business is located). The Court will

thus require Defendant to file an amended disclosure statement that addresses these deficiencies.

Failure to do so may result in the imposition of sanctions. See Fed. R. Civ. P. 16(f)(1)(C).

       Accordingly,

       IT IS HEREBY ORDERED that Defendant Chap Arnold Insurance Agency, LLC must

file a Second Amended Disclosure statement, no later than January 17, 2025, consistent with this

Memorandum and Order.

       Dated this 10th day of January 2025.



                                               MATTHEW T. SCHELP
                                               UNITED STATES DISTRICT JUDGE



*
  The Court further observes that, without this information as it existed at the time of filing, the
Court cannot be sure of its own jurisdiction to preside over this action. See James v. Moore, 1:23-
cv-00115-SNLJ, 2023 WL 4350944, at *1 (E.D. Mo. July 5, 2023) (noting the court could “be
assured of its own jurisdiction” only after the states of citizenship of defendant LLC’s members
were specifically identified); see also Grupo Dataflux v. Atlas Glob. Grp., 541 U.S. 567, 571
(2004) (explaining that diversity jurisdiction depends on the state of the facts at the time of filing).

To be abundantly clear, the disclosure requirement necessitates identifying the name and
citizenship of Keystone’s members and, if one of those members is an LLC or other unincorporated
entity, the name and citizenship of that entity’s members, partners, or trustees, as applicable. See
GMAC, 357 F.3d at 828 (explaining that the citizenship of “an unincorporated entity depends on
the citizenship of all the members”).

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